                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  VINCENT SYSTEMS GMBH,                            )
                                                   )
         Plaintiff,                                )
                                                   )
  v.                                               )
                                                   )           Case No. 1:23-cv-2-CEA-SKL
  FILLAUER COMPANIES, INC., and                    )
  MOTION CONTROL, INC.,                            )
                                                   )
         Defendants.                               )


                                               ORDER

         Before the Court is a Motion for Leave to File Under Seal [Doc. 86] filed by Plaintiff

  Vincent Systems GMBH (“Vincent Systems”). Vincent Systems indicates its Opening Claim

  Construction Brief [Doc. 85] and Exhibit 5 thereto include “a limited amount of material” which

  has been designated highly confidential/attorneys’ eyes only by Defendant Motion Control, Inc.

  (“Motion Control”) [see Doc. 86 at Page ID # 1927].

         This case was filed January 4, 2023. Since that time, the Court has revised its standard

  Memorandum and Order Regarding Sealing Confidential Information (“M&O”). In pertinent part,

  the revised M&O requires:

         A. Additional Procedures Required to File Another Party’s or Non-Party’s
            Confidential Information Under Seal

             1. If a protective order entered in this case requires that a party seeking to file (“the
                filing party”) another party’s or non-party’s information which the party or non-
                party has designated as confidential (each referred to as “the designating party”),
                then before the filing party files a motion to seal, the filing party and designating
                party shall meet and confer to determine exactly which documents the designating
                party asserts meet the Sixth Circuit’s sealing standards. The filing party may move
                to seal only those confidential-designated documents that the designating party
                asserts meet the sealing standards. The motion to seal MUST contain a certification
                by counsel for the filing party that the filing party and the designating party have




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                met and conferred in good faith to determine which documents the designating
                party asserts merit sealing. The Meet and Confer Certification shall be prominently
                placed on the first page of the motion to seal as the first paragraph and shall contain
                the following:

                                  Meet and Confer Certification

                      I, (undersigned attorney), counsel for (moving party), do hereby
                      certify that I have met and conferred with counsel for (the
                      designating party) in good faith to determine which documents
                      (designating party) asserts merit sealing. This motion to seal
                      pertains only to those documents so identified by (designating
                      party).

             2. After a motion to seal is filed, the designating party will have fourteen days from
                service of the motion to seal to file: (a) a response indicating whether that party
                supports the motion to seal, and (b) if the response is in the affirmative, any
                declarations or other papers supporting such response.

         In addition, where a party seeks to redact a public filing, as is the case here, the revised

  M&O requires:

                An unredacted document (the document containing the confidential information)
                shall be filed using the Proposed Sealed Document event, with all proposed
                redacted portions (confidential portions) of the document highlighted using a
                legible text highlight color, to enable the Court to identify and review those
                confidential portions of the document that the moving party is asking to be sealed,
                i.e. redacted from the public record permanently.

  (Emphasis added).

         In the instant motion, Vincent Systems writes, “On April 24, 2024, counsel for Motion

  Control indicated that Motion Control maintains the confidentiality designation for the testimony

  cited” in Vincent System’s Opening Claim Construction Brief and Exhibit 5 thereto [Doc. 86 at

  Page ID # 1927]. This is insufficient to meet the certification requirements of the revised M&O.

  In addition, the proposed redactions are not highlighted [see Doc. 87 & Doc. 87-1]. The Court

  acknowledges the parties were not required to comply with the revised M&O when the instant


                                                  2



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  motion was initially filed because it was not entered in this case. Nevertheless, the Court finds it

  proper to enter the revised M&O now and to require the parties to comply with the terms of the

  revised M&O going forward and with respect to the pending motion to seal. 1

          Accordingly, it is ORDERED:

          (1) The Memorandum and Order Regarding Sealing Confidential Information [Doc. 7] is

  VACATED and the Clerk is DIRECTED to enter the revised M&O.

          (2) Within SEVEN DAYS of entry of this Order, Vincent Systems is ORDERED to

  provide an appropriate conferral certification for the instant motion, which for present purposes

  may be filed separately on the docket as a notice. For all future motions to seal, the certification

  SHALL be included in the motion as required by the revised M&O.

          (3) Motion Control is ORDERED to comply with the revised M&O in submitting its

  response to the instant motion, including by providing any necessary declarations or other papers.

          (4) For all future filings, the parties are ORDERED to comply with the revised M&O in

  all respects.

          SO ORDERED.

          ENTER:


                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




  1
   Given the limited redactions proposed in the instant motion [Doc. 87 & Doc. 87-1] and to avoid
  confusion over citations to the record, Vincent Systems is not required to re-file the proposed
  sealed documents with the proposed redactions highlighted.
                                                  3



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